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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT ()F FLORIDA - ORLANDO DIVISION

CASE NO. 6:17~bk-06025-KSJ

 

CHAPTER 7
IN RE:
ELIEL SANTOS and SARAH
SANT()S,`
Debtor(s)
/
CREDITOR’S MOTION F()R

RELIEF FROM THE AUTOMATIC STAY

Subject Properly: 345 PRINCETON AVE
RAHWAY, NEW JERSEY 07065-

 

 

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
further notice or hearing unless a party in interest files a response within 21 days from the date set forth on
the attached proof of service, plus an additional three days for service if any party was served by U.S. Mail.

If you object to the relief requested in this paper, you must file a response with the Clerk of the Court
at George C. Young Federal Courthouse, 400 West Washington Street, Suite 5100, Orlando, Florida 32801
and serve a copy on the movant’s attorney, Taji Foreman, Esq., at Kahane & Associates, P.A., 8201 Peters
Road, Ste 3000, Plantation, FL 33324, and any other appropriate persons within the time allowed. If you tile
and serve a response within the time permitted, the Court will either schedule and notify you of a hearing or
consider the response and grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do not oppose
the relief requested in the paper, will proceed to consider the paper without further notice or hearing, and
may grant the relief requested.

 

Creditor, SELECT PORTFOLIO SERVICING INC., AS LOAN SERVICER FOR U.S. BANK
N.A., AS TRUSTEE, ON BEHALF OF THE HOLDERS, OF THE J.P. MGRGAN
MORTGAGE ACQUISITION TRUST 2006-WMC4 ASSET BACKED PASS-THROUGH
CERTIFICATES, SERIES 2006-WMC4, (“Creditor”), by and through undersigned counsel and
pursuant to 11 U.S.C. §362(d), Fed. Rule Bankr. P. 4001 moves this Court for relief from the

automatic stay to proceed in rem, and states:

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V2_20170530 FL.MFR.OOl

 

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1. The Court has jurisdiction over the subject matter herein.

2. On or about September 27, 2006, SARAH SANTOS executed and delivered a promissory
note (the “Note”), and a mortgage securing payment of the Note (the “Mortgage”). Creditor is
entitled to enforce the Note, a true and correct copy of which is attached hereto as Exhibit “A”.
3. The Mortgage was recorded on October 24, 2006, Instrument No. 421449 of the Public
Records of UNION, County New Jersey and encumbered the property described in the
l\/lortgage. A true and correct copy of the Mortgage is attached hereto as Exhibit “B”. The
Creditor is a secured creditor through the Note and Mortgage executed on September 27, 2009 in
the amount of $319,200.00.

4. The Mortgage was subsequently assigned to U.S. Bank National Association by virtue of
an assignment of mortgage (the “Assignment of Mortgage”) recorded on November 14, 2007 in
the Instrument No. 126654, of the Public Records of UNION County, New Jersey. A true and
correct copy of the Assignment of Mortgage is attached hereto as Exhibit “C”.

5. The loan Was subsequently modified pursuant to the Loan Modifrcation Agreement, a
true and correct copy of Which is attached hereto as Exhibit “D”.

6. Select Portfolio Servicing, lnc. is the servicer of the loan described in the Note and
Mortgage and, as such, has the authority to initiate the instant action and any foreclosure on the
Creditor’s behalf pursuant to a Power of Attorney, attached hereto as Exhibit “E”.

7. The Creditor has the right to foreclose on the subject property.

8. SARAH SANTOS (“Debtor”) is in default under the Note and Mortgage and is not
adequately protecting the Creditor.

9. The Debtors, ELIEL SANTOS and SARAH SANTOS filed this voluntary Chapter 7

proceeding on September 8, 2017.

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10. The' Creditor holds a security interest in the subject property located at 345
PRINCETON AVENUE, RAHWAY, NEW JERSEY 07065 (“Property”), more fully described

in the Mortgage attached as Exhibit “B”. The legal description for the Property is as follows:

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ll. The Debtor is indebted to the Creditor in the total amount of $520,687.51. Pursuant to

the valuation, attached hereto as Exhibit "F" the property is valued at $255,000.00.

l?.. The amount due to the Creditor as of September 16, 2017 is $520,687.51. The Amount

due exceeds the Property’s value as stated above, so there is no equity in the Property.

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l3. The Creditor maintains that cause exists pursuant to ll U.S.C, §362(d)(l) for the
automatic stay to be lifted. The Creditor’s security interest in the subject property is being
significantly jeopardized by the Debtors’ failure to make regular payments under the Note and
Mortgage while Creditor is prohibited from pursuing lawful remedies to protect such interest
The default is based on the contractual default The contractual monthly mortgage payment is
$1,497.93, which is comprised of principal and interest, as well as escrow, if applicable The
Debtor is indebted to the Creditor in the total amount of $520,687.51.
14. Creditor further seeks relief to, at its option, offer, provide, and enter into any potential
loan assistance agreement Creditor requests that it may contact the Debtor via telephone or
written correspondence to offer such an agreement
15. Select Poitfolio Servicing, lnc. is servicing the loan on behalf of the Creditor. Any
payments made to the Creditor must be sent to:

Select Portfolio Servicing, lnc.

Attn: Remittance Processing

P.O. Box 65450, Salt Lake City, UT 84165-0450
l6. Creditor hereby waives the requirement under §362(€) that a hearing be held within 30
days of filing the Motion for Relief from the Automatic Stay.
l7. Creditor respectfully requests that the Court waive the fourteen (14) day stay of the order
granting relief pursuant to Fed. Rule Banlcr. P. 4001 (a)(S), so that Creditor can pursue its in rem

remedies without further delay.

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WHEREFORE, Creditor, SELECT PGRTFOLIO SERVICING INC., AS LOAN
SERVICER FOR U.S. BANK N.A., AS TRUSTEE, ON BEHALF OP THE HOLDERS, OF THE J.P.
MORGAN MORTGAGE ACQUISITION TRUST 2006-WMC4 ASSET BACKED PASS-THROUGH
CERTIFICATES, SERIES 2006-WMC4, prays that this Court issue an order terminating or
modifying the stay, and that the fourteen (14) day stay of the order pursuant to Fed. Rule Bankr,
P. 4001 (a)(3) be waived or, in the alternative, that the Debtor(s) be directed forthwith to make
regular cash payments that would adequately protect Creditor’s interest Additionally, Creditor

requests this Court award any other relief this Court deems just and proper.

DATEDihiS <%1"" day Of @P_\@be\/ ,2017.

Respectfully Submitted,

Kahane & Associates, P.A.
820l Peters Road, Suite 3000
Plaiitation, Florida 33324
Telephone: (95 382-3486

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CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on this __QJJ day of September~ 2017, l served a copy

of the foregoing either electronically and/or via first class U.S. mail upon:

Eliel Santos
2090 l\/Iarsh Hawk Dr
Orlando, FL 32837

Sarah Santos
2090 Marsh Hawk Dr
Orlando, FL 32837

Alej andro Rivera, Esq.
Alejandro Rivera, P.A.
Attorney for Debtors

1400 W. Oak Street, F
Kissimmee, FL 34741~4000

Marie E. Henkel, Trustee
3560 South Magnolia Avenue
()rlando, FL 32806

U.S. Trustee
United States Trustee - ORL7/ 13
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801
Respectfully Submitted,

Kahane & Associates, P.A.
8201 Peters Road, Suite 3000
Plantation, Florida 33324

 

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